                             JUDGMENT ENTRY.
This appeal is considered on the accelerated calendar under App.R. 11.1(E) and Loc.R. 12, and this Judgment Entry shall not be considered an Opinion of the Court pursuant to S.Ct.R.Rep.Op. 3(A).
The state's assignment of error, in which it contends that the trial court erred as a matter of law in dismissing the single, carrying-a-concealed-weapon count of the indictment, is sustained on the authority of Klein v. Leis, 99 Ohio St.3d 537,2003-Ohio-4779, 795 N.E.2d 633, paragraph one of the syllabus, as R.C. 2923.12 does not unconstitutionally infringe upon the right to bear arms.
Therefore, the judgment of the trial court dismissing the indictment is reversed and the cause is remanded for further proceedings.
Further, a certified copy of this Judgment Entry shall constitute the mandate, which shall be sent to the trial court under App.R. 27. Costs shall be taxed under App.R. 24.
Hildebrandt, P.J., Gorman and Painter, JJ.